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EXH|BIT A
JEFFERSON COUNTY DISTRICT COURT, COLORADO
Addl'€SS of COuI'tZ 100 J€ff€I“SOn COU.Ilty Pal`l(Way DATE FlLED; Aprjl 27, 2018 3;]7 pM
Golden, CO 80401 FILING ID: 6DBF536B5A501
Phone: 720_772_2500 CASE NUMBER: 2018CV30676

 

Plaintiff: JRC EXTERI()R SOLUTIONS

 

v.
Defendant: OWNERS INSURANCE COMPANY AFOR C()URT USE ONLYA
ATTORNEY FOR PLAINTIFF: Case Number:

Jonathan E. Bukowski, Esq.

Colorado Bar No. 45614 Div.: Ctnn:

Larry E. Bache, Esq.

Colorado Bar No. 51958

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COMPLAINT AND JURY DEMAND

 

 

 

COMES NOW Plaintiff, JRC EXTERIOR SOLUTIONS, by and through its undersigned
counsel, and hereby submits this its Complaint against Defendant, OWNERS INSURANCE
COMPANY, and in support of its Complaint, alleges and avers as follows:

PARTIES

1. Plaintiff, JRC Exterior Solutions (“Plaintiff” or “JRC”) is a Colorado sole
proprietorship With its principal office in Brighton, Colorado.

2. Upon information and belief, Defendant, Owners Insurance Company (“Owners”),

is an insurance company licensed with the State of Colorado With the Division of lnsurance

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engaged in the business of issuing property and casualty insurance policies insuring commercial

and other properties in the State of Colorado.

 

JURISDICTION AND VENUE
3. This Court has subject matter and personal jurisdiction over the parties to this cause
of action.
4. A cause of action exists under Colorado state law for claims regarding the conduct
complained of herein.
5. Jurisdiction is proper as to Owners pursuant to Colorado Revised Statutes § 13-1-

124(1)(a), (b), and (d) because Owners conducted the business at issue in this action, committed
tortious misconduct and contracted to insure property Within Jefferson County, Colorado.

6. Venue is proper pursuant to Col.R.Civ.P. 98 because it is the venue in Which the
cause of action accrued and Where the insured property in question is located

FACTS COMMON TO ALL COUNTS

7. Designer l\/larble of Colorado, lnc. (“Designer Marble”), is the owner of real
property located at 190 South Taft Street, Lakewood, Colorado 80228-2209 (“Property”).

8. Designer l\/Iarble purchased a Cominercial Property Coverage Policy of insurance
from Owners under Policy Nuinber 124632-74052795-13 (the “Policy”).l

9. The Policy provides 3580,500.00 in property damage coverage for Plaintist
Property.

10. The Policy includes a deductible in the amount of $50().00.

1 1. The Policy is an all risk policy of insurance

12. The Policy is a replacement cost value policy and covers loss to the Property.

 

1 Plaintiff is not in possession of a Certir`ied Copy of the Policy.
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13. The Policy provides coverage for direct physical loss or damage to covered
property at the premises caused by or resulting from any covered cause of loss.

14. The Policy does not require that the Property sustain functional damage for
coverage to be afforded to direct physical loss or damage to covered property at the premises
caused by or resulting from any covered cause of loss.

15. The Policy does not include a cosmetic exclusion

16. Under the Policy, Owners is obligated to pay for direct physical loss and damage
to the insured Property resulting from hail and Wind.

l7. Under the Policy, OWners agreed to adjust all losses fairly and timely.

18. Designer Marble paid the premiums due under the Policy in a timely manner

19. Designer l\/larble performed all duties and responsibilities required of it under the
Policy.

20. Designer Marble duly executed an Assignment of lnsurance Claim With JRC
Exterior Solutions (“JRC”). A true and accurate copy of the Assignment is attached hereto as
Exhibit “A.”

21. On or about l\/lay 8, 2017, during the Policy period, the Property suffered direct
physical loss and/ or damage resulting from hail and/or Wind.

22. The direct physical loss and/or damage resulting from the hail and/or Wind
constituted a covered loss under the Policy.

23. The direct physical loss and/or damage resulting from the hail and/or Wind Was
timely reported to Owners.

24. Owners assigned Claim Number 74-260-2017 to the Property loss.

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25. Owners assigned its adjuster, Tom Houle, to investigate and adjust the direct
physical loss and/or damage to the Property resulting from hail and/or wind that occurred on or
about May 8, 2017.

26. On or about May 30, 2017, Owners representative, Tom Houle, provided an
estimate which outlined $14,584.45 in replacement cost value covered damages A copy of Owners
First Damage Estimate is attached hereto as Exhibit “B.”

27 . Owners’ First Damage Estiinate included only nineteen line items.

28. Owners’ First Damage Estimate did not include, among other items:

(a) Removal and replacement of 25.00 linear feet of flash parapet wall on the
Property’s modified bitumen roofing system

(b) 4.00 hours of roofer for repairs on the Property’s modified bitumen roofing
system

(c) Door replacement on the Property’s exterior elevations in excess of

315,00.00
(d) Scaffolding for siding replacement of the Property’s exterior elevations in

excess of $l,400.00

(e) Removal and replacement of 943.93 square feet of commercial high grade
steel siding

(f) Removal and replacement of 2.00 aluminum horizontal slider windows on
the exterior elevations of the Propeity

29. Each of the line items outlined in Paragraph 28 were provided by Owners in its
Second Damage Estimate nearly ten months later in March 2018.

30. As a result of Owners’ poor investigation, Front Range Consulting (“Front
Range”), a Colorado state licensed public adjusting firin, was retained to assist in the adjustment
of the claim for direct physical loss and damage to the Property resulting from a hail and/or wind
storm occurring on or about May 8, 2017.

31. On~ or about November 9, 2017, Owners’ representative, Tom Houle, performed a

reinspection of the Property.

32. Owners reassigned the claim to a new adjuster, Geoff Page.

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33. Gn or about January 4, 2018, Front Range provided Owners with a damage estimate
outlining 379,047.30 in replacement cost value covered damages to the Property. A copy of Front
Range’s Damage Estimate is attached hereto as Exhibit “C.”

34. On or about March 14, 2018, Owners’ representative Geoff Page, performed a
second reinspection of the Propeity.

35. On or about March 27, 2018, Owners provided Front Range which a revised
damage estimate which outlined $29,241.65 in replacement cost value covered damages A copy
of Owners’ Second Damage Estimate is attached hereto as Exhibit “D.”

36. Owners’ Second Damage Estimate provided for recoverable depreciation in the
amount of $16,031.29.

37. Owners’ Second Damage Estimate included an additional $14,657.20 in covered
damages that were not provided Owners’ Second Damage Estiniate.

38. Owners’ failure to include $14,657.20 in covered damages within its Second
Damage Estimate that were subsequently identified in its Second Damage Estimate resulted in the
delay of payment of $14,657.20 in covered benefits without a reasonable basis

39. Despite the complexity of the repairs outlined within its Second Damage Estimate,
Owners’ Second Damage Estimate failed to include general contractor overhead and profit

40. Owners’ failure to include general contractor overhead and profit has led to the
delay and denial of covered benefits without a reasonable basis.

41. On or about April 6, 2018, Front Range requested that Owners provide an extension
of time to claim the recoverable depreciation outlined in its Second Damage Estiinate.

42. On or about April 9, 2018, Owners denied any extension of time to claim the

recoverable depreciation outlined iii its Second Damage Estimate.

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43, Owners’ failure to pay the claim in full has resulted in a breach of contract

44. Owners’ failure to pay the claim in full has resulted in an unreasonable delay and
denial of $49,805.65 in covered benefits without a reasonable basis

45 . lt is apparent from Owners’ conduct that Owners adopted a plan or approach to
delay, as much as possible, its handling and payment of the claim.

46. Plaintiff has fulfilled all duties required of it under the Policy after discovery of the
loss

47. Plaintiff has performed all conditions precedent and subsequent required under the
insurance Policy, or alternatively, have been excused from performance by the acts,
representations and/or conduct of Owners

FIRST CLAIM FOR RELIEF
(Breach of Contract)

48. Plaintiff realleges and reaffirms Paragraphs 1-47 as if fully set forth herein.

49. Owners issued an all risk policy requiring Owners to pay for any and all fortuitous
damages resulting from a loss not expressly excluded or otherwise limited by the Policy.

50. The Policy is a binding contract

51. Owners received premiums pursuant to the Policy.

52. Plaintiff otherwise performed all conditions precedent to recovery of benefits under
its Policy with Owners

5 3. Owners has denied certain covered damages and continues to delay and deny
certain claimed damages

54. Owners’ failure to honor its obligations under the Policy is a breach of contract

55. Owners’ breach of contract has damaged, and continues to damage Plaintiff.

56. Plaiiitiff is entitled to all benefits due and owing under the Policy.

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WHEREFORE, Plaintiff, JRC Exterior Solutions, respectfully requests this Court enter
judgment against, Defendant, Owners Insurance Company, for damages resulting from its breach
of contract, costs, pre-judgment interest, attorneys’ fees pursuant to applicable law, and such other

relief as the Court deems appropriate

SECOND CLAIM FOR RELIEF
(Bad Faith Breach of Insurance Contract)

57. Plaintiff realleges and reaffirms Paragraphs 1-56 as if fully set forth herein.

58. Under the Policy and Colorado law, Owners had a duty to act reasonably and in
good faith in the handling of Plaintiff`“s claim.

59. Under the Policy and Colorado law, Owners had a duty to act with ordinaiy,
reasonable diligence in investigating the claims submitted by Plaintiff and in determining the
amounts due and owing under the Policy in question, and to pay all amounts due and owing.

60. Under the Policy and Colorado law, Owners owes Plaintiff the duty of good faith
and fair dealing.

61. Owners had the non-delegable duty to investigate the claim objectively and to not
look for ways to deny benefits or attempt to not pay the full amount owed.

62. Owners owed Plaintiff the duty to give equal consideration to the financial interests
of its insured and not to give greater consideration to its own financial interests while investigating
and adjusting its insured's claims

63. Owners had an obligation to conduct a thorough, fair, unbiased, and timely
investigation of the claim presented to it, and then properly evaluate and timely pay those claims

64. Owners sold Designer Marble the Policy at issue, the intent of which was to provide

benefits for covered losses that occurred during the Policy period.

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65. Owners knew that the Policy was purchased to protect the Property in the event of
a loss.

66. Plaintiff has cooperated with Owners in the processing of the claim for covered
benefits resulting from a hail and/or wind storm occurring on or about May 8, 2017.

67. Plaintiff has cooperated with Owners in the investigation of the claim for covered
benefits resulting from a hail and/ or wind storm occurring on or about May 8, 2017.

68. Plaintiff has not erected any obstacles to Owners’ ability to investigate Plaintiffs
claim for covered benefits resulting from a hail and/or wind storm occurring on or about May 8,
2017.

69. Plaintiff has not erected any obstacles to Owners’ ability to evaluate Plaintiff’s
claim for covered benefits resulting from a hail and/or wind storm occurring on or about May 8,
2017.

70. Owners disregarded the validity of Plaintiff’ s claim for direct physical loss and
damage resulting from the hail and/or wind storm occurring on or about May 8, 2017.

71. Owners failed to treat Plaintiff’ s interests with equal regard to its own.

72. Owners mischaracterized the evidence to the benefit of itself.

73. Owners failed to be open and honest in its dealings with Plaintiff.

74. Owners failed to conduct a full, fair, and prompt investigation of the claim.

75. Owners underpaid PlaintifF s claim without conducting a thorough investigation in
an attempt to effectuate a deceptively low settlement

76. Owners underpaid Plaintiffs claim by failing to objectively evaluate Plaintiff`s
claim based on all available evidence, and not just evidence which Owners believes supports its

position

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77. Owners decision to underpay the benefits owed to Plaintiff was intentional and not
accidental

78. Owners knew that its denial to pay the benefits owed would cause Plaintiff financial
hardship

79. Owners failed to assist Plaintiff with the presentation of its claim.

80. Owners breached its duty of good faith and fair dealing by failing to conduct a
proper investigation of the loss

81. Owners breached its duty of good faith and fair dealing by conducting an outcome
oriented investigation of Plaintiff’ s loss

82. Owners breached its duty of good faith and fair dealing by underpaying Plaintiff’ s
claim without having documented a reasonable investigation based upon all information

83. Owners failed to conduct a thorough and timely investigation of Plaintiffs claim
in accordance with insurance industry claims handling standards and practices

84. Among other circumstances Owners has committed unfair settlement practices
including, without limitation:

(a) Owners has failed to acknowledge and act reasonably promptly upon
communication with respect to claims arising under insurance policies;

(b) Owners has failed to adopt and implement reasonable standards for the
prompt investigation of claims arising under insurance policies;

(c) Owners refuses to pay claims without conducting a reasonable investigation
based upon all available information;

(d) Owners has failed to attempt in good faith to effectuate prompt, fair, and
equitable settlements of claims in which liability has become reasonably
clear;

(e) Owners has compelled Plaintiff to institute litigation to recover amounts due
under an insurance policy by offering substantially less than the amounts
ultimately recovered in actions by such insureds;

(f) Owners has failed to promptly settle claims, where liability has become
reasonably clear, under one portion of the insurance policy coverage in

order to influence settlements under other portions of the insurance policy
coverage;

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85.

(g) Owners has misrepresented terms and conditions of the Policy in an attempt
to influence its Insured to settlement for less than all benefits reasonably
afforded under the Policy for the subject loss and damage; and

(h) Owners encourages its claims representatives to engage in unfair claims
settlement practices against its lnsured, thereby violating applicable laws
and regulations of the State of Colorado.

Owners’ claims representatives9 including Tom Houle and Geoff Page, received

incentive-based compensation to close quickly or reduce claim payments

86.

Owners representatives including Tom Houle and Geoff Page, received income-

based compensation to reduce claims payments made to Plaintiff on its claim for loss or damage

to covered property at the Property caused by or resulting from any covered cause of loss

87.

Owners improperly denied Plaintiff s claim by providing financial incentives to its

personnel, including Tom Houle and Geoff, to deteimine claims handling

88.

claims

89.

90.

91.

92.

93.

Owners improperly set various claims handling goals to reduce the amount paid on

Owners improperly denied Plaintiff’s claim to reduce overall claims payments
Owners improperly denied Plaintiffs claim to increase profits

Owners improperly denied Plaintiffs claim to maintain its loss ratio.

Owners improperly denied Plaintif`f" s claim to meet department goals

Owners’ conduct demonstrates that it was repeatedly aimed at benefiting itself to

the detriment of Plaintiff.

94.

Owners improperly denied Plaintiff’s claim by motivating its claims department to

pay less on claims that are otherwise owed.

95.

overall claims

Owners improperly denied Plaintiffs claim to reduce the average amount paid on

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96. Owners has committed unfair claim settlement practices as alleged in the preceding
paragraphs of Plaintiff s Complaint.
97. Owners’ conduct constitutes a bad faith breach of the insurance contract
98. Owners has committed such actions with such frequency as to indicate a general
business practice
99. As a direct and proximate result of Owners’ actions, Plaintiff has:
(a) incurred increased costs to repair, restore and/or replace the significant
property damage;
(b) suffered damages as a proximate result of the misconduct alleged; and
(c) suffered and will continue to suffer other expenses, including loss of pre-
judgment interest, attorneys’ fees, appraisal costs and fees, investigatory
fees, and other losses
WHEREFORE, Plaintiff, JRC Exterior Solutions, respectfully requests this Couit enter
judgment against Defendant, Owners lnsurance Company, for damages resulting from bad faith
breach of insurance contract, costs, pre-judgment interest, attorneys’ fees pursuant to applicable
law, and such other relief as the Court deems appropriate
THIRD CLAIM FOR RELIEF
(Unreasonable Delay and Denial of Payment of Covered Benefits
Pursuant to C.R.S. §§ 10-3-1115 and 10-3-1116)
100. Plaintiff re-alleges and reaffirms Paragraphs l-99 as though fully set forth herein.
lOl. Under Colorado Revised Statute § 10-3-1115, an insurer who delays or denies
payment to an insured without a reasonable basis for its delay or denial is in breach of the duty of
good faith and fair dealing
102. Under Colorado Revised Statute § 10-3-1115, an insurer’s delay or denial is

unreasonable if the insurer delayed or denied authorizing payment of a covered benefit without a

reasonable basis for that action.

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103. Plaintiff is a first-party claimant within the meaning of Colorado Revised Statute §
10-3-1115(1)(b)(1).

104. Plaintiff suffered a loss covered by the Policy and submitted a claim for that loss to
Owners

105. The claimed loss and damage submitted under claim number 214-414-16 was
covered by the Policy and Plaintiff was owed covered benefits under the Policy.

106. Owners delayed payment of covered benefits without a reasonable basis for its
actions

107. Owners denied payment of covered benefits without a reasonable basis for its
actions

108. Among other circumstances Owners has unreasonably delayed and denied covered
benefits without a reasonable basis for doing so as alleged in the preceding paragraphs ofPlaintiff' s
Complaint.

109. Owners delayed and denied payment of covered benefits without a reasonable basis
for its action by failing to properly investigate its insured’s loss

l lO. Owners delayed and denied payment of covered benefits without a reasonable basis
for its action by failing to timely investigate its insured’s loss

1 l 1. Owners delayed and denied payment of covered benefits without a reasonable basis
for its action by issuing a first damage estimate without having documented a reasonable
investigation based upon all information

112. Owners delayed and denied payment of covered benefits without a reasonable basis

for its action by failing unnecessarily prolonging its investigation of Plaintiff" s claim.

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l 13. Owners delayed and denied payment of covered benefits without a reasonable basis
for its action by failing providing Plaintiff with an»inadequate settlement offer.

l 14. Owners delayed and denied payment of covered benefits without a reasonable basis
for its action by omitting obvious covered damages in an effort to effectuate a deceptively low
settlement

115. Owners unreasonably denied and delayed payment of covered benefits without a
reasonable basis for its action by improperly withholding general contract overhead and profit
associated with the repair of Plaintiff s Property,

1 16. Owners delayed and denied payment of covered benefits without a reasonable basis
for its action by providing two damage estimates which did not include all covered damages

117. Despite clear evidence of covered damages to the Property, Owners continued to
delay and deny indemnification of its own insured without a reasonable basis for doing.

1 18. Owners delayed and denied payment of covered benefits without a reasonable basis
for its action as demonstrated by its most recent payment in excess of 330,000.00 than its initial
estimate

119. Owners’ actions in the adjustment ofPlaintiffs’ claim demonstrate an unmistakable
complete delay of its lnsureds benefits without a reasonable basis for its actions

120. Owners unreasonably denied and delayed payment of covered benefits without a
reasonable basis for its action by forcing Plaintiff to retain its own professionals to help properly

f adjust the loss.
l2l. Despite receipt of Plaintiffs’ comprehensive estimate, Owners denied and delayed

payment of covered benefits without a reasonable basis for doing so.

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122. Owners unreasonably delayed and denied Plaintiff’s claim to reduce overall claims
payments

123. Owners unreasonably delayed and denied Plaintiff’s claim to increase profits

124. Owners unreasonably delayed and denied Plaintiff s claim to maintain its loss ratio.

125. Owners unreasonably delayed and denied Plaintiffs claim to meet department
goals

126. Owners unreasonably delayed and denied Plaintiffs claim by providing financial
incentives to its personnel, including Tom Houle and Geoff Page, to determine claims handling

127 . Owners unreasonably delayed and denied Plaintiff s claim by motivating its claims
department to pay less on claims, such as Plaintiff’s claim for damages than what is otherwise
owed.

128. Owners unreasonably delayed and denied Plaintiffs claim to reduce the average
amount paid on overall claims

129. Owners unreasonably delayed and denied Plaintiff"s claim by asserting coverage
positions that it knew were without merit.

130. Owners’ actions were intended to dissuade Plaintiff in pursuing benefits due and
owing under the terms of the policy in bad faith.

131. Based upon the foregoing Paragraphs is therefore entitled to two times the covered
benefit, attorneys’ fees, and costs pursuant to C.R.S. § 10-3-1116, together with pre-judgment
interest at the highest rate allowed by law.

WHEREFORE, Plaintiff, JRC Exterior Solutions, respectfully requests this Court enter

judgment against Defendant, Owners lnsurance Company, for damages authorized pursuant to

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Colorado Revised Statute § 10-3-1116, costs, pre-judgment interest, attorneys’ fees pursuant to
applicable law, and other such relief as the Court deems appropriate
REOUEST FOR JURY TRIAL
132. Plaintiff requests trial by jury with respect to all claims and issues triable to a jury.

Respectfully submitted this 27th day of April, 2018

/s/ Jonathan Bukowski

Larry E. Bache, Jr., Esq.

Colorado Bar No.: 51958

lonathan E. Bukowski, Esq.

Colorado Bar No.: 45614

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FILED: April 27, 2018 3:17 PM
ID: 6DBF536B5A501
NUMBER: 2018CV30676

11684 Granby Street, Brighton, CO 80603

303-916-1488 Gary Dexter ....... 720-345-8802 Greg Gappa

ASSlGNMENT OF lNSURANCE CLAlM From Client to Contractor

The undersigned lnsured and JRC Exterio Sol ions in consideration for the services to be performed as
defined in the contract signed on 2 2 2 § 2 2 Z , hereby transfers and assigns to JRC Exterior
So|utions any and all of the lnsured's rig ts, benefits and proceeds due to insured under any applicable
insur nce policies pertaini o the lnsurancen laim(s) identified as Claim(s)
No.: `711‘ " €J~LAO " 20}"'1'[?{21 if " fill af ”lé overing loss sustained at the lnsured’s property at

l q 0 51 'F¢e?@f S?(, zq/\/e.woa¢f ,C?$? 302-28 (address). This transfer and assignment of
rights also includes any right of the |nsured to collect for extra contractual damages consequential
damages, common law damages and statutory damages This transfer and assignment allows the
Contracth to file a lawsuit in the Contractor’s name to collect the proceeds assigned herein and hire a
public adjuster in relation to this claim.

Client agrees that if the lnsured's insurance company tries to pay the proceeds to the lnsured and/or
lnsured’s mortgage lender, the lnsured will assist JRC Exterior So|utions to have those insurance
proceeds made payable to JRC Exterior Solutions.

    

lN WlTNESS WHERE OF, the lt d?signed have aused this transfer and assignment of insurance claim to

be duly executed this f /” day of / /rZ/£€~ 201§.

ASSIGNOR(S): (lnsured Name) ASSlGNEE: jRC Exterior Solution$

Printed Name Printed Name

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Signatu re

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DENTON LAURENT

Notary Public - State of Colorado
Notary ID 20174007535
My Commission Expires Feb 17 2021

  

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lNSuRANcE
UFE ’ HO!'*¢’*\E ' CAR ' SUSlNESS

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oAte or toss: 5/3/17
RE; coMMERclAL REPA:R cLAiM

near Designer Marble of Coiorado

ln review and veriiication of your loss, we believe,that the enclosed repair estimate is an acceptable amount to repair or
replace your covered damaged property Please refer to this estimate as it provides a breakdown of the following
amounts: actual cash ~value, replacement cost and deductible

The initial payment enclosed is the actual cash value of your covered damaged property, less any applicable policy
deductible Actual cash value is calculated based on state law and your policy

» Recoverable Depreciation: lf you have replacement cost coverage and you complete the repairs», you may
claim an additional payment up to $ 4»383»79

¢ Non-Recoverable Depreciation:'$

 

lf there are any cost differences or newly discovered covered dam age not included in the enclosed repair estimate
immediately report that information to the claims attica above We must be given the opportunity to inspect and veri@
these differences

 

You may make a further claim and receive'up to the recoverable depreciation amount shown above, if you have the
applicable coverage and complete me'following:

1. Notify us within 180 days after the loss or damage of your intent to make a replacement cost claim.
2. Complete the repair or replacement as soon as reasonably possible after the loss or damage

To receive the replacement cost payment please submit the following to the address above;

¢ The contractors final invoice,~pnotos of repaired property and other documentation we may further request We
reserve the right to inspect the repaired property

if approved Owners insurance Com parry Wi|i reimburse you up to the actual cost of
covered repairs incurred or the depreciation that was withheld whichever is less

 

 

 

Please consider a contractor that is licensedf insured and bonded We do not guarantee or warranty the contractors
worl<.

Only you, your lien holders or mortgagees nave a legal interest to authorize repairs Your mortgagee often has the right
of inspection and approval.

Thanl< you for your business and the opportunity to service your insurance needs lt you have any questions at aii, please
contact our office

This is not a SWORN STATEMENT lN PRCCB§: OP LOSS as required by the policy A PROOF OF LGSS must still be
submitted to the company Within 60 days of the'date or loss stated above

All rights terms, conditionsa and exclusions in the policy are in full force and effect and are completely reserved No
action lay any employee agent attorney or other person on behalf of <O\’»“efs insurance Company;
or hired by owes insurance Company on your behalf shall Walve or be construed as having
waived any right term, condition, exclusion or any other provision of the policy

Thanl< you for your business and the opportunity to service your insurance needs lt you have any questions at aii, please

contact our officeA

sales ram Appllcable to: Corn merciai Fropeny and Businessowners. ovea

EXH|BlT B

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ALABAMA STATUTES PROVlDE THAT “Any person who knowingly presents a false or fraudulent claim for payment of
a loss or benefit or who knowingly presents false information in an application for insurance is guilty of a crime and may
be subject to restitution, fines, or confinement in prison, or any combination thereof,”

AR|ZONA STATUTES PROVlDE THAT “For your protection Arizona law requires the following
statement to appear on this form. Any person who knowingly presents a false or fraudulent claim for
payment of a loss is subject to criminal and civil penalties."

ARKANSAS STATUTES PROVlDE THAT “Any person who'l<nowingly presents a false or fraudulent claim for payment of
a loss or beneltt or knowingly presents false information in an application for insurance is guilty of a crime and may be
subject to fines and confinement in prison."

COLORADO STATUTES PROVlDE THAT “lt is unlawful to knowingly provide false, incomplete or misleading facts or
information to an insurance company for the purpose of defrauding or attempting to defraud the company Penalties may
include imprisonment &nes, denial of insurance, and civil damages Any insurance company or agent of an insurance
company who knowingly provides false, incomplete or misleading facts or information to a policyholder or claimant for the
purpose of defrauding or attempting to defraud the policyholder or claimant with regard to a settlement or award payable
from insurance proceeds shall be reported to the Colorado division of insurance within the department of regulatory
agencies."

FLORlDA STATUTES PROVlDE THAT “Any person who knowingly and with intent to injure, defraud, or deceive any
insurer nies a statement of claim or an application containing any false incomplete or misleading information is guilty of a
felony of the third degreef‘

lDAHO STATUTES PROV|DE THAT “Any person who knowingly, and with intent to defraud or deceive any insurance
company, files a statement of claim containing any false, incomplete or misleading information is guilty of a felony”

lNDlANA STATE STATUES PROVlDE THAT "‘A person who knowingly and with intent to defraud an insurer files a
statement of claim containing any false, incomplete or misleading information commits a feiony."

KENTUCKY STATUTES PROVlDE THAT “Any person who knowingly and with intent to defraud any insurance company
or other person files a statement of claim containing any materially false information or conceals for the purpose of
misleading information concerning any fact material thereto commits a fraudulent insurance act, which is a crime.”

MlNNESOTA STATUTES PRO\/lDE THAT “A person who liles a claim with intent to defraud or helps commit a fraud
against an insurer is guilty of a crime."

OHEO STATUTES PROV|DE THAT “Any person who, with intent to defraud or knowing that he is facilitating a fraud
against an insurer, submits an application or files a claim containing a false or deceptive statement is guilty of insurance

fraud."

PENNSYLVAN|A SYATUTES PROVlDE THAT “Any person who knowingly and with intent to defraud any insurance
company or other person files an application for insurance or statement of claim containing any materially false
information or conceals for the purpose of misleading1 information concerning any fact material thereto commits a
fraudulent insurance act, which is a crime and subjects such person to criminal and civil penalties" and “Any person who
knowingly and with intent to injure or defraud any insurer files an application or claim containing any false, incomplete or
misleading information shall, upon conviction, be subject to imprisonment for up to seven years and payment of a fine of
up to $15,000."

TENNESSEE STATUTES PROVlDE THAT "lt is a crime to knowingly provide false, incomplete or misleading information
to an insurance company for the purpose of defrauding the company Penalties include imprisonment fines and denial of

insurance benefits ."

VlRGll\l|A STATUTES PROV\DE THAT “lt is a crime to knowingly provide faise, incomplete or misleading information to
an insurance company for the purpose of defrauding the company Penalties include im prisonment, fines and denial of

insurance benefits."

EXH|BIT B

Case 1:18-CV-01335-C|\/|A-NRN Document 1-1 Filed 05/31/18 USDC Co|or¢_adgw_ Page 19 of 49

, v Catastrophe Specialist, Inc.
QMW§M
2708 Sunset St:ip Ste D

Cireenville, T,\’, ‘754{)2

Ph: 972-673-0934
Fa>;: 972673-0988

lnsuxed: Desigger Macble of`Colorado INC DBA Benray Home: (303) 980-9110
Designer Marble
Property 190 S Tafi St
Lakewood, CO 80228

E-mail: None

Claim Rep.: Jeremy Montgomcry, CSI Represeutative. Bu$iness: (317") 840-2073
Cel!ular: (31?) 840-207 3
E-mail: jeremymonte@gmail.com

Estimator: lai-remy Momgomcry, CSl chr@sen¥ative Bus`mess: (3'1?) 840~2£}73
E-majl: j eremymome@gmail .com

Reference.' Business: (844`; 2964()53 x 2296
Company: Auto-Owncrs Catastrophe Claims Branch C;‘G CSl E-mail: AOCat@izo`ms.com

Busi.ness: Po Box 3066(}
Lansing_. Ml 48909-3160

Claim Number: 074-0000260-2017 Policy Number: 124632?4052795 TYpe of L¢)ss: Hail

Date Contac‘ced: 5110!2()17 5200 PM
Date of Loss: 518/2017 5:{)0 PM Date: Re.ccived: 5;'91'20`17 8:00 PM

Date mspcctcd: 5117!2017 32:00 PM Da*.e. Ente:ed: 5!19)‘20 1'? 7:53 A;\-'l

Pcice List: CODESX__MAY 17
Restoratiom!Sex'x'icQ’Remodei
Estimate: I)z‘ESI.CxI\IERW M AKBLE

NGT!CE: ”l‘his is a repair esiima‘c:: only and not an offer of settlsmcm. A§L estimate figures may bc subject to additional
company review and approval This i$. not an authorization to repai; or guarantee ofpaymen£. Authorizaijon to repair and/or
guarantee of payment must come flom the owner afthe property The insurer assumes no responsibility for the quality nor amy

deficiencies in repairs

EXH!B|T B

Case 1:18-CV-01335-C|\/|A-NRN Document 1-1

cammgm‘a§sz,mc
2703 Su.nset Strip Ste D
Greenville, TX 75402

Ph:972-673'()934
Fax: 972-673~0938

Filed 05/31/18

Catastrophe` Specialist, Inc.

DES!GNER_MARBLE

Front Elevation

Front Elevation Metal

 

 

 

 

 

 

 

 

54.')".7 SP' Wal]s

USDC Co|orado Page 20 of 49

Height: 4"

1410.00' 55 ceiling

 

 

 

 

 

 

 

 

 

 

 

_...--m 2" ~*""‘"“‘~50’2"
FME miamm, k 1464.7'? SF Walls & Ceil'mg 350.()0 SF Ploor
il 4'_~ 94444 SY Flo<)ring 164.30 LF F-Io<)r Perime,ter
’ ' ‘§64.30 L,F Ceil. Per§me:@r
QUANT!TY U`NIT TAX RCV AGE/LII~"E CON`D. DEI’ "» DE`PREC. ACV
I, R&R Siding ~ aluminum (.024 thickness)
850.0’3 SF 5.95 196.99 5,254.“+9 151’50 yrs Avg. 30% (1.471.80) 3,782469
2. R&R Sectional overhead door, 14‘ x IG`
400 EA 1,376,39 280,5{`} 5,786.06 15]35 yrs Avg. 41 S¢')% (2,357. 73) 3,42 333
Allowance to replace two 20 x 14 overhead dmrs. Xactimate does not have 20 x 14 doors Doors are 280 sq& each
3. R&R Wrap garage door frame & trim with aluminum (PER LI")*
96.00LF 1;`9¢1 m_zé :,160.50 1550 gm Avg, 30% (297. 1313 3@3.32
4. Exterior light fixture » De\‘zlch & reset
1.0{} EA 64'01 0.00 64.9! iS/NA Avg_ 0% {G.(}O:) 64.01
5_ R&R Stcc] door, 3‘ x 7‘
109 EA 229/43 §'3..63 24'_3..11 XSHOO »‘SS Avg. ’15% {34.39) 'BU?.`}'?.
6. Door locksat - Detach & reset
100 EA 21_80 0.0{l 21 .SG 15,&`~.‘;\, Avg4 0% (0.0i}) 2160
7. Paint door slab only ~ 2 coats {per side:}
1130 EA 28\, 16 048 2364 1315 yrs Av€/ IO(}% fM] (23.64`) 0.0G
Tota!s: Front I\Ile\~ation Metal 594.91 12,557.61 4,] 89.74 8,367.87
Front Elevation Wood Height: 4"
.3- 20.6'/` SF~ Wal}s 184<(§(] SF Ceiling
idea §330 204.6'; SF wang & Ceilmg 97.51 sp mar
1 1033 SY mooring 62.00 L,F Floor Permmer
62.00 LF Ceii. Perlmetcr
QUANT}TY UNIT 'l`AX RCV AGE!L}FE COND. DEP % DEPRE(§. ACV
S.. C}ean with pressurc!chcmical spray
155.01 SF 0.33 0 12 51.2.' 5£\"§\ Avg. G% (G.OO) ‘)14?.?
A!lowance tc pressure wash priof to painting
5/'30./’2017 Pag@: 2

I)ESIGNERMMARBLE

EXH|B|T B

Case 1:18-CV-01335-C|\/|A-NRN Document 1-1 Filed 05/31/18 USDC Co|orado Paqe 21 of 49

Catastrophe Specialist, Inc.
camspedav§,mc

2'708 Sunset Strlp SterD
Greenv'rhe, TX 7 5402

Ph: 972-673~{)93~’1»
Fax: 972»6'73-0988

CONTIN UED - Front Elevation Wood

 

QUANTITY UNTI` TAX RCV AGE}L}FE CGND. DKP % DEPREC. ACV
9 Pain’c woc;d aiding ~ 1 coat

9?.51 Sr»= 0.6? 1.61 66.94 5:15 yrs , vg, 33.33% (22.3~2) 44.62
10. Paint exterior soft`rt ~ wood ~ 1 coat

34~.5031~` 1.(17 1149 37,41 5!15 yrs Avg 33.33% {1.2.4'1’_1 2494

Pa§nt from fha w<)<)d aiding 13 continuous with the scrth
11. Paint exterior §`ascia - 1 com - wood, 6"- 8" wide

23.00LP 1.07 624 2485 5:'15 yrs Avg. 33.33% 13.28) 16.57
12. Regiaze window 10 ' 16 sf
1100 EA 125.07 528 13(1.35 5/13 yrs Avg_ 27.78% {36.?.1`) 94414
13. R&R Wirxc`row screen, 10 - 16 SF
1.00 EA 51 .67 534 55,01 5!30 yrs .¢'51\1';;,r 16.6'?% (8.63) 46.38
14 R&R Giazirxg head - Viny1
51601.,1" 1.73 22 3.87 5/’1 8 yrs Avg. 27.7’8% (`2.06) 681

A_i!owance to repair hai§ damag@.

 

 

 

 

 

 

 

 

Tctals: Fr‘ont Eieva£ion Wood 11.30 374.70 89;97 284.73
Totaf: Front Elevation 51 6.21 12,932.31 4,279,71 8,652.60
Right Etevation
QUAN'ITIY UNIT TAX RCV AGE[L!FE COND. DEP % I}EI’REC. ACV
15‘ R&R. G!azing bcad_ - Viny1

5.001,17 1.73 1122 3.87 5."1&’ yrs _»'\.vg. ?.'P'.'iS% (".-‘..116) 6.81

16. R&R Dowrrspout ~ aluminum - up to 5"*
74.00 LF 51 79 1154 44-{).00 5.1'25 yrs Avg. ZG% (31.64) 358.36
T€)ta!s: Right Elew ation 1176 448.87 83.?0 365.17

Business Per'sonal Property

 

 

 

QUANTIT\" UNIT TAX RCV AGE[LII~`E COND. DEP % DE`PREC; ACV
17. '1` abir: type row desk
4.00 LF 75.96 1305 321,89 5/1, 0 yrs Avg. 50% (160.95) 16{1‘,94
DESIGNER_MARBLE 55€1»'20 1':' Paga.' 3

EXH|B|T B

Case 1:18-CV-01335-C|\/|A-NRN Document 1-1

_ Catastrophe Specia}ist, Ine.
§atam¢\e$pem§st,ln:

2703 Sunsez Strlp Ste D
Greenville, T)~; 754132

Ph:»972-673"0984
.Fa;~r: 972-673~0983

Filed 05/31/18 USDC Co|orado Paqe 22 0149

CONTlN UED - aniness Fersonal Property

 

 

 

 

 

 

 

 

 

 

 

QUAN‘I`ITY UNIT TAX RCV AGE/LIFE COND. DEP % D`EPREC. ACV
Torals: Busincss Personai Property 18.(}5 321.89 160.95 169.94
Location 1 Sign
QUANTTI'Y UNIT TAX' RCV AGE/L¥FE COND. DEP % DEPREC. ACV
lS, R&R Commercial sign race
2400 sr 2936 45.00 749.64 5er yrs l vg. 50% (359\341 39:)_30
Allowance to replace damaged sign
Totals: Location 1 Sign 45.00 749.64 359.34 390.39
Debris Removal
QUANTT{'Y UNIT TAX RCW»y AGE»’LIFI§ C(}NI). DEP % DEI"REC, ACV
19. Haul debris - per pickup truck load - including dump fees
100 EA 131.7¢’$ G.GU 131.74 GFN'A Avg, NA (0.0(l) 131‘ 114
Rcstr>ration De§)ris
'l`otals: Debris Removal 1100 131.74 6.00 131.74
Line Item Totals: DESIGNER_ 591.92 14,584.§5 4,883.71} 9,70(}.'/‘5
MARBL}§
§%} v Indicates that depreciate by percent was used for this item
[M] ' ludicates fhat the depreciation percentage was limited by ihg: maximum allowable depreciation For this item
5!30!."-£017 Paget 4

DES;GNER_MARB LE

EXHlB|T B

Case 1:18-¢Q,V-01335-C|\/|A-NRN Document 1-1 Filed 05/31/18 USDC Co|orado Paqe 23 of 49

_ Catastrophe Specialist, Inc.
Caxzssophe$peoam;mr.

2798 Sunset Strip St:~: D
Greenvjl}e, 'I`X 75402

Ph:972~673»0934
Fax: 9'!2-6'73-0988

 

 

Grand Total Areas:
75.43 SF Walls 1,594.90 SF Ceiling 1,669.-¢3 SF- Walls and Ceiling
94?.51 SF Floor 105.28 SY Flooring 226.30 LF Floer Perimeter
0.00 SF Long Wall 0.00 SF Sh<m Wail 226.30 LF Ceil. Perimetcr
947.51 mem Area 947.51 mal Arca 75.43 manor wa§1 Area
280.40 Exterior Wall Area 210.3(3 Exterior Perimct€.r of
Walls
0.0G Surface Area U.OG Numbcr of Squaxcs U)l){) Tmai P<:rimcter leength
(.\.00 lhwleng f..ength G.OD 'l`ota¥ Hip Length
Coverage Item Total % ACV Totaf %
Location 1 Blcigl 13,512.92 92.65% 9,149.5§ 94.32%
Locatic)n 1 Business Personal ?ropeny 32189 2.?.1% 16().94~ ‘1.66%
Location 1 Sign 1 749.64 5,14% 390.30 4.0’.3%
n Tota‘i 14,584.~’§»5 100.00% 9,'700.75 100.00%
5/30!?.017 Pagc: 5

DESIGNERAMARBLE

EXH|B!T B

Case 1:18-CV-01335-C|\/|A-NRN W Document 1-1 Filed 05/31/7`1¢8,`_ LJ,SDC CQIQVraQ%Q Page 24 of 49

caan
2?08 Sunset Strip Ste D
Greenville, TX 754§2

Yh:97'2-673-O984
Fax.: 97?,»673~(}938

Line hem Total
Materia] Sales Tax

Repiacement Cost Va!ue
Less Depreciation

Actuai Cash Vaiue
hess Deducfibla

Net Claim

Total Recove.rab}€ Depreciation

Net C\aim if Depreciation is Recovered

mt Catastrophe Specialist, Inc.

Summary for Location 1

Bldgl
12,934.95
52?.97

$13,512.92
(.~4,363.41;

$9,149.51
{500.003

$8,649.51

4,363‘4‘;

 

$13,012.92

 

 

Jeremy Montgomery, CSl Representative

DESIGNER_MARBLE

EXHIB|T B

5!30!2017

Case 1:18-CV-01335-C|\/|A-NRN Document 1-1 Filed 05/31/18 USDC Co|orado Paqe 25 of 49

@' Catastr'ophe Speeialist, Inc.
ammspeda§::rwc

2708 Sunset Strip Ste D
Greenvilie, TX ?5402

Ph; 972-673~09 84
Fax: 972~673*0983

Summary for Location 1 Business Personal Property

 

 

 

 

Line ltem 'l`otal 3()3.84
Material Sale=s Tz_x 18.05
Repiacement Cosc Value 5321.89
Less Dcpreciati<)o (116()‘95')
Acma} Cash Value 3316().94
Net Claim 3166.9*4
To‘cal Rcc<;)verablc Deprc',ciation 160.95
Net Claim if Depreciatiou is Recovered $3'?.]..89
M“MW__*
Jercmy Montgomcry, CSI chresentative.
5!30!2()17 Pagc:: 'F

DESIGNER_NLAR_BLB

EXH|B|T B

Case 1:18-CV-01335-C|\/|A-NRN Document 1-1 Filed 05/31/18 USDC Co|orado Pacle 26 01°49N

_ Catastmphe Specialist, Inc.
cammmnc

2708 Sunset Strip Ste D
Greenville, 'I`X '?5402

Ph:972-6?3~G984
Fax: 973-673-0988

Summary for location 1 Sign 1

 

Line item Total 704.64
Matexi:al Saies Tax 45_00
Rep!acement Cost Value 5749.64
Less Depreciation (_35.9,34}
Actual Cash Value 5390.30
Net Claim $390.30
Tc)tal Recc)verab§e Depreciation 359.34
Net Claim if Depreciation is Recovered $749.'64

 

 

 

Icrsmy Momgomery, CSI Rc:presentative

DESIGNER_MARBLE 530/2017 Page 3

EXH|BIT B

Case 1:18-CV-01335-C|\/|A-NRN Document 1-1 Filed 05/31/18 USDC Co|orado Page 27 of 49

 

Insured:

Property:

Claim Rep.:
Position:
Business:

Estimator:
Position:
Bu Siness:

Claim Number

Date of Loss:
Date Inspected:

Price List:

Esti mate:

Designer Mal'ble of Colorado, Inc. DBA Benray

Designer Marble
190 S Taft St

Lakewood, CO 80228

Douglas W. Clark
Public Adjuster

7830 W. Alameda Ave_ Ste 103-338

Lakewood, CO 80226

Douglas W. Clark
Public Adjuster

7830 W. Alameda Ave. Ste 103~338

Lakewood, CO 80226

: 074-260- 17

5/8/2()17

CODESX_DECN

Policy Number: 12463274052795

Date Received:
Date Entered:

Restoration/Service/Remode!

074~0000260-2017

EXH|B!T C

DATE FILED: April 27, 2018 3:17 PM
FlLlNG ID: 6DBF536B5A501
CASE NUMBER: 2018€\/3()676

Business:
E-mail:

Business:
E-mail:

12/5/2017 3:3(] PM

(303) 517-7155
dclark@frclaims.com

(303) 517-7155
dclark@frclaims.com

Type of Loss: Hail

Case 1:18-CV-01335-C|\/|A-NRN Document 1-1 Filed 05/31/18 USDC Co|orado Page 28 of 49

 

07 4-0000260-2017

Building Permit

 

 

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
l. Taxes, insurance, permits & fees (Bid l.00 EA 0.00 0.00 0.00 0.00 (0.00) 0.00
Item)

Cost to be determined when incurred.

 

 

 

 

 

 

Totals: Building Permit 0.00 0.00 0.00 0,00 0.00
Roof

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

2. Remove Tear off, haul and dispose of 1039 SQ 44.72 0.00 92.92 557.56 (0.00) 557.56

modified bitumen roofing

3. R&R Cap flashing 66.00 LF 18.92 54.43 260.64 1,563.79 (0.00) l,563.79

4. Insulation - lSO board, 3 1/2" l0.39 SQ 364.34 l30.03 783.10 4,698.62 (0.00) 4,698.62

5. Modified bitumen roof 1091 SQ 340,]8 80.06 758.30 4,549.72 (0.00) 4,549.72

6. Central air - condenser unit - Detach & l.00 EA 670.02 0.00 134.00 804.02 (0.00) 804.02

reset

7. R&R Commerical heater - flue cap * 8.00 EA 250.00 50.18 410.04 2,460.22 (0.00) 2,460.22

8. R&R Exhaust cap - through roof- 6" to 3.00 EA lOl.l9 7.ll 62. 14 372.82 (0.00) 372.82

8..

9. R&R Flashing ~ pipejael< 2.00 EA 55.29 l.]9 22.36 l34.l3 (0.00) 134.13

Totals: Roof 323.00 2,523.50 15,140.88 0.00 15,140.88

Gutters/Down Spouts

 

 

 

 

 

 

DESCRIPTION QUANTITY UN!T PRICE TAX O&P RCV DEPREC. ACV

lO. R&R Down Spouts - aluminum ~ up to 74.00 LF 6.51 ll.77 98.70 592.21 (0.00) 592.2]

511*

Totals: Gutters/Down Spouts ll.77 98.70 592.21 0.00 592.21

Siding

DESCRIPTION QUANTlTY UNIT PRICE TAX O&P RCV DEPREC. ACV

ll. R&R Siding - steel - Comrnercial - 3,l83.90 SF 7.70 1,027.86 5,108,80 30,652.69 (0.00) 30,652.69

High grade

12. R&R Wrap wood garage door frame & 150.00 LF 13.72 22.26 416.06 2,496.32 (0.00) 2,496.32

trim With aluminum (PER LF)

13. Exterior light fixture - Detach & reset l.O() EA 64401 0.00 12.80 76.81 (0.00) 76.8l
074-0000260-20l 7 l/4/2018 Page: 2

EXHlB|T C

Case 1:18-CV-01335-C|\/|A-NRN Document 1-1 Filed 05/31/18 USDC Co|orado Page 29 of 49

 

CONTINUED - Siding

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

14. Scaffold - per section (per week) 20.00 WK 48.00 0.00 192.00 1,152.00 (0.00) 1,152.00

15. Scaff`olding Setup & Take down - per 6.00 HR 42.51 0.00 51.02 306.08 (0.(]()) 306408

hour

Totals: Siding 1,050.]2 5,780.68 34,683.90 0.00 34,683.90
Doors

DESCRIPT]ON QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

16. R&R Sectional overhead door, 20‘ x 2.00 EA 7,847.51 260.87 3,191.20 19,147.09 (0.00) 19,147.09

14' ~ insulated*

17. R&R Steel door, 3' x 7' 1.00 EA 293.19 17.21 62.08 3,72.48 (0.00) 372.48

18. Door lockset & deadbolt - exterior - 1.00 EA 30.52 0.00 6.10 36.62 (0.00) 36.62

Detach & reset

19. Seal & paint door slab only (per side) 2.00 EA 28.77 1.08 11.72 70.34 (0.00) 70.34

Totals: Doors 279.16 3,271.10 19,626.53 0.00 19,626.53
Windows

DESCRIPTION QUANTlTY UNIT PRICE TAX O&P RCV DEPREC. ACV

20. R&R Aluminum window, horiz. slider 2.00 EA 264.28 25.09 110.74 664.39 (0.00) 664.39

12-23 sf

21, Additional charge for a retrofit 2.00 EA 102.13 2.21 41 .30 247.77 (0.00) 247.7'/'

window, 12-23 sf

Totals: Windows 27.30 152.04 912.16 0.00 912.16
Painting

DESCRIP'I`ION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

22. Clean With pressure/chemical spray 264.00 SF 0.33 0.2() 17.46 104.78 (0.00) 104.78

23. Seal & paint wood siding 264.00 SF 1.05 7.47 56.94 341.61 (0,00) 341.61

24. Prime & paint exterior fascia ~ Wood, 66.00 LF 1.28 0.81 17.06 102.35 (0.00) 102.35

4"- 6" wide

Totals: Painting 8.48 91.46 548.74 0.00 548.74

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EXHlB|T C

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Sign
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
254 R&R Commercial sign face 24.00 SF 30.21 45.90 154.20 925.14 (0400) 925.14
TOtalS: Sign 45.90 154.20 925.14 0.00 925.14
Interior LXVVXH 24' 2" X 9' 6" X 8'
538.6'7 SF Walls 229.58 SF Ceiling
768.25 SF Walls & Ceiling 229`58 SF Floor
25.51 SY Flooring 67.33 LF Floor Perimeter
193.33 SF Long Wall 76.00 SF Sholt Wall
67.33 LF Ceil. Perimeter
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
26. Contents - move out then reset - Large 1.00 EA 86.97 0.00 17.40 104.37 (0,00) 104.37
room
27. Tear out wet drywall, cleanup, bag for 229.58 SF 0.97 2.63 45.06 270.38 (0.00) 270.38
disposal
28. Tear out and bag wet insulation 229.58 SF 0.81 1.05 37.42 224.43 (0.00) 224.43
29. Apply anti-microbial agent to the 229.58 SF 0.26 0.53 12.04 72.26 (0.00) 72.26
ceiling
30. Batt insulation - 6" - R19 - paper faced 229.58 SF 0.97 1089 46.72 280.30 (0.00) 280.30
31. 5/8" drywall - hung, taped, floated, 229.58 SF 2.20 ]0.19 103.06 618.33 (0.()0) 618.33
ready for paint
32_ Seal/prime then paint the ceiling (2 229.58 SF 0.73 2.63 34.04 204.26 (0.00) 204.26
coats)
33. Clean and deodorize carpet 229.58 SF 0.48 0.18 22.08 132,46 (0.00) 132.46
34. Final cleaning - construction - 229.58 SF 0.21 0.00 9.64 57.85 (0.00) 57.85
Commercia]
Totals: Interior 28.10 327.46 ],964.64 0.00 1,964.64
Debris Removal
DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
35. Dumpster load - Approx. 40 yards, 7-8 2.00 EA 662.39 0.00 264.96 1,589.74 (0.00) 1,589.7/-1
tons of debris
Totals: Debris Removal 0.00 264.96 1,589.74 0.00 1,589.74
Property Access/Management
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EXH|B|T C

Case 1:18-CV-01335-C|\/|A-NRN Document 1-1 Filed 05/31/18 USDC Co|orado Page 31 of 49

 

 

 

 

 

 

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
36. Commercial Supervision / Project 40.00 HR 63.82 0.00 510.56 3,063.36 (0.00) 3,063.36
Management - per hour
Totals: Property Access/Management 0.00 510.56 3,063.36 0.00 3,063.36
Line Item 'l`otals: 074-0000260-2017 1,773.83 13,174.66 79,047.30 0.00 79,047.30
Grand Total Areas:
53 8.67 SF Walls 229.58 SF Ceiling 768.25 SF Walls and Ceiling
229.58 SF Floor 25.51 SY Flooring 67.33 LF F]oor Perimeter
193.33 SF Long Wall 76.00 SF Short Wall 67.33 LF Ceil. Perimeter
0.00 Floor Area 0.00 Total Area 0.00 Interior Wall Area
0.00 Exterior Wall Area 0.00 Exterior Perimeter of
Walls
0.00 Surface Area 0.00 Number of Squares 0.00 Total Perimeter Length
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074-0000260-2017 1/4/2018 Page: 5

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§ Cat§stmphe Sp§¢:ialist, Inc.

 

 

 

 

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Case 1:18-CV-01335-C|\/|A-NRN Document 1-1

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CLA|M §§ 74_250_20€? §?a§ MAROON GSRC:LE` SU§TE 155 EYQGLEMGQQ, GG Szimz
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z Re~c¢:verab|e Deprécialion: if you have replacemem cost coverage and you compiata the repairs, you may
claim an additionai payment up to SM

 

a Non~Recoverabie Deprec§at§c\n: 5

 

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AL.ABAE§U STATL§TES PRGV§DE THA'E F’Arsy‘ person ramo knowingij; presents a raise er frauduler§§ c§eim mr payment :§§ a
§ese. er wener”§§ er wine knewii§g§y preeen§§ fa§ee §r§forrr§eticn §r: an app§i<:etion for insurance is gu§§ty of a crime end may he
emh§ec§ m reeti?t§_rt§c:n, f§r’iee, er cenfénement in §:risen, or any eem‘e§net§on ihereof_'*

AR|ZOE~JA STA`FL§TES PROVEBE THA`E‘ ”For your proieciiori Arimne few requires the §oiiowing

s§atement tci appear err this form Any person Wr§o knewirzgiy presents a wise or frauduie§§§ ciaim for
paymen£ of 3 loss is 'subj?ec§ to crimina§ and civil penei€ies§“

ARKANSAS ETAT§JTES PRCW!DE THA? “Any pearson th) kncwing!y presents a wise cr framde§e§§t e§air§§ mr payment er

a ross cr benth er knewing§;,r mesen§s faiee §r§fe§§§§ei_§cir§ in err ep;;|ice§.im‘i §o§ §n§urance is gui§§y of a crime end may be
eub_§ec§ to §:’ies and confinement in Q§§’Ei:)r§."

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rer insurance proceeds ehali be reparied to tree Co§o~redc) d§v§zém§ 06 §meri§ance with§n the deper§§eem cr reg§i§atc§§j~,,¢
eger§ciee.”

§TLG§€¥DA. STATUTES PROV§DE THAT “’Any german wade §§new§?ragiy end w§ih imen§ iii §§z§ure, §:;i§:-:§remda ar deceive any
maurer files a statement cf cia§m er an apelicei§on containing any faise, `§n§;;er‘n~;iiel;eF or misleading §riforma§:'i:in is guii§;r e§ a
fe§oriy of the wire degreeig

EDAHG S§`A§UTES PROV%DE °FHAT *’Ar§y person vith §§m:zwir=giy. erred web ir~rien§ §§ defreui:§ cir deceive amy §ns§irariee
campaign f§§es a staiemer§§ 0§' erain ci;zn§e§§iir§g ;§z§y‘ feiee, iiz‘§cempiete, or mia§eed§r§g defamation §§ guiity eac a fe§or§;rf"

§MD}ANA ST¢’§TE STATUE5 PRGWDE `FHM° ”A person Whe mw§§ri§i;§ end with imer'zi te def§au§i an ie§§§rerii§ee §§
§§ezeme§‘it of §;iaim mri§eiriir\§ any fa§`ee, ineemp§ete, er :§§§sie;zdir;g §§iformetion commits a fe@eriyf’

E<ENTUCI?§`§' STA?UTES PRC\V§GE THAT "Any person wm kne».~:ir)g§r and with imth te defraud array ir§surer§ce cempe§§;,r
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misieed§§§g, isr§ermai€ezi centereir§§ any §aci material i§'iere.§e cemrnitd a §re§rc§u!er§t ir§.;=~u:§ ar§r;,e ash §‘§E"\is:h §§ §§ r;»ri§§'ief'

§!§ENMESU`§A S'§'ATUTES F*§,G‘J§DE Ti-§AT °’A persian Whe files a claim with §ntem to def§ee§j er §§e§§:i§ Qemmite fraud
against en insurer §§ gmi§§_g,§ of §§ crime.”

DHIC"I §§TATUTES PR§:W§DI§ '§HP.§‘ “Amy eer*s,i::i'§ W§'§r;i_ W§§.h inier§§ m derre:§c§ cr knowing trees he §§ §acii§tatir§g a frame
eqe§nei era ineu§‘e§, 5§_§§):§§§15 en ep;§i§::a:ic§m cir f§§e£ §§ r:§aérr§ cenwir§ir§§ a €e§ea er decep&i'§re s§.;itemezit ie g§iiit;§ cf §:“ieure§\ce
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P§NM§`§‘LVANU ST.»‘§~T§_??E,S PRGV§DE THF§T “,r`§,ny perea/ri w'§'z¢;§ knei,i.\i§"i§g§y md Wi§i§ i:§§er'it ira lde'€§'auii eng §§i$urar‘iee
company as other p'e§ser§ fi§es en ep;)§§ca§§eri for §risuren;e cr e§eterr§e§it er claim eente§§§ing my mater§ei§'g fe§ee
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§§'eui:i§.i?e§it insurance aci, w‘rz§r;h §:i~.: e crime and see§ei:§e mich perecr'§ m criminal end §:§v§§ per§a§§iez§" ami “A§'§j; pe§‘.§en veier
kmwiegi;§ end with §n§er§t te injure 0§ defrai§d any insurer f§§e; an app§icai§o§i as <:|;)§m remaining eng raise ince,mp§ete or
rn§gieari§r§g §r§fermaticr§ sha§§_ zieer cenvietien, he subje¢:§ fe §§§§priecnmen§ §os' ap 1111 ze‘§er§ yeere end ;iey§m»:zm§ c§ a erie G§`
ap fin $'§5,®§38.“

TE§‘\! M§'§ESEE STATUTES PRE§JV§BE THA§ "‘i§ §§ a crime se kr§§:~’srin¢g§y erev§de falee, inmrr§p§ete er m§$§ee»déri§ §§i{ermat§eri
m err §§‘ie,m'arice cc§r‘r§pa§'i§r for the perpeee cf defrauding line company Perie§ties inc§ude irrepri§@n§§\ei§§, S§~§e§ end denial §_~.§
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VERG§NEA STM'U?ES FRSV§UE TH§”§T “‘i§ §§ a erime '€§3 knev,ii§§§§§;§ §§§cvide feise. éricomplekz er m:§;|ee§§rig iriier§§'ietiere re

en §nsuren§:e no§§§;?ari;§ for the pi_rr;~:§ose er defrauding me cem§:§an;ri Pe§'§e§t§es §§'n:iu§ie imprisonment inez end denied §§
feaarrar§ce benef§tsf'

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duf@~gwm§ Mei'$ insure nce fiesz ny

H\ZSURANCE

L\`:FE ' HOME ' CAR ‘ SE.JS€§‘~EESS

PAYMENT RECEFPT
DATE: 5"' 511 1 7 Cw.:ws NUS¥SBER; 74“26@'291 7

NAMED }NEL§RED: @E$§§F|Ef Mafbl€ O§ GS§GF&U€I¢ §§"l€ DA'§E ap LGSS; 518/if 7

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T;~’szs §Ecerpl can§rms you have §ece§ved a §§ymem m the amami §§ 5 , *-= " '-B' ~” 4 wages iba UL*§YG‘_""§
p@;§§@n 95 ~,¢OU¢» p@§§.;~,§ fog Des§gne$ Marb}e of fhwach ms

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submitted w t§’ce ccmpan§,¢, as requér&ci by ya»uz §§;Eicy.

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Payment method §§ Checbc [:§ Claim gard ij Gther

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£LABAMA STATUT§S FROVEDE THAT “,*'m§; passim who l§n§§§w“lngiy presents a false ar i`§‘el.§c:leler§l eleir§§ fm eayine§`ii of
el lose er iser:ef§§ er wine knoe:ir§gl;§ p§'esenis false irrfcrme§§en in en epelieeiioe fur inserence ls guilty of a c§i§r§e and may
lie smelled ic reetltu§ie§'i, §“ir§ee.1 or eeni§nement in pdeen_, er any eembinei§m §he§eef_”

AR§ZGNA STA?UTES PROV§DE THAT "For your pmiectien Mizm'§a law req miree the fellowng
statemen§ to appear wm this form. Any person Whe knowingly presents a false or fraudulen§ claim tier
peg/meet of a loss is subject m criminal and civil penaliies,”

P,R§<AN SAS STATUTES PROViDE THA§ “P.n;¢ pereen wiley lanew§ngi;»: §§eeem§ a false er fraudulent cle§r§§ ic~r pey§’r§e§§§ eli
e lose or ee§ie&i er knowingly presents false in€o§meflen in en application far insurance is guilty cafe crime end may be
salisjee§ §e:§ isles and confinement i§i priec§ra."

CDl~GRADG STA`EUFES PRGViDE THAI '“§t is unle§»§'iu§ le knowingly erc)vl¢;le iei§e, §m:ereple§e, er misieac§lng facie er
§nfer§‘n e§§en to an insurance company for me purpoee of defrauding er attemp§§ng te defraud l§~ie c§;~mpanyt Per§eliies mall
include imprisonme§‘et, mae denial 05 §nsuzem:e, end civil damages Aey ineu§a:§ce cemeeny or agent ef en insurance
em'r§ea§§y who limwir§g§g§ e§ev§s;lee false En<:§ir§§;:)§e§e5 er misleading facie or inie§'r§§a§ien le a policyholder oz claimant for fee
pergmse cf deben;§ing oz etteme§lng to defraud live pel§cylielde§ e§‘ e§e_lrr§a r'§§ W§ih regard fe a Sei§|em em er ewel‘d eeye§:§le
from imeu§en§:e proceeds shall be §epe§‘tec§ to the Cele§edc clé'l~,»isien of ingwence within the deeer§r‘aerzt of §eg;iia§cz~y
ege!§i;ies."

FLOR§DA STATUTES P§?:OWDE THAT “Any persian wm knowingly game w§l§‘i event le injure réeire§§d, az deceive any
insurer files a sla§ement cf claire cr en ep;:i§§cai§on con§e§mn§ any false incen§~;:§le§e, er misleading micrmeiic§r'i le gu§§§;§ el e
ie§er§§)' of the §i§i§cl de§;§ee."

EDAHO S§ATUTES P?-EGV§DE TH.AT ”Ar'sy gases wise lanew§~. gly, end wl§i§ é§'§§en§ m defraud er decelve amy §new:§m:e
company iles a sietemee§ el claim cun§e§§ii§‘i~g any §a§ee, ince§§§;;ie&e, or mlelee§i§sig §e{o§§ea§i§¢:m §§ guilty e§ a ielenyf°

§ND%§ANA STA“FE ST`ATUES FROVZDE ?H.AT “A pezeer§ wm keewieg§y end with in§en§ lo cle§re§lr;$ an ln=.;§:~re§‘ files 23
eietemen§ of c§eim eemeln§ng any felee. §ncem§:§ete, er mislea§§ir§g informet§¢:m eemmlls §§ felen;:.“

§<ENTLSCKY STATUTEB PROV§DE ‘l`l-lAT "An§,»‘ perzen Wl§c kne§air§gg§y end Wi§§i in§ent m defraud any ineui'er§ce company
cr other gee§€,c:r§ illee. a eteteme§it of claim containing any meter§eii§; le§se §§§fc)m'§etiei§ er cencee§s. for the pu§enee cf
mieleec§£ng. §nferme§len concerning eng iam mate§§lal §herete cnmielie a fzeueiu§eni ine§:renr:.e eci§. weigh le a cr§;‘i".e.”

wilE\JNEZSQTA STA'§"L§TES PRC§V§DE TH,A_T “P~ gle§eez§ view §‘i;ee a claim Wiil'i lntem te defraud er lielpe commit a heed
against en insuze§ is guilty of a ceme.“'

GH|U S§ATUTES PRO`§»'§DE THA"§ "Az§y german §~§i'§e, mill §§sle:':§ le defi’el.sc! er kneeling feel §§e is fee§§'§§e§ln§ e eagle
egainei en inemer, waives am §§ jei:zr;e§$:m er §§le§ a cia§»:§§ con§e§nle§g el €else m diece;§§§~.'e ei;§temen §§ guilty of ineuren::e
§i'ax§::lf"

§§E§Q§QS*:’§_\!AN§A BTA§UYES PEUVIEJE “i'°HAT “Ar'iy person wm knew§:ig§y and Wiii'l ii§§en§ §0 def§eucl any lawrence
eem§)e§ny oz omez lawson fees esa eep£i§:atlori ici l§'isuren§:e cr sie§emer§i cf Claim ceme§e§ag my ,r§ualerie~’~:§y false
§nfo~rme§ien er conceals ic§ me purpose af n§isieaeiir§g, §§§ierm»:~§§ier§ ;eeeemln§ eng ieei ezeier§e§ §i§e§'eie cem:§§ite el
f§ei,§§§uiem §nsurar§ce e£:, wh§c`§"i §§ a C§'§me end Su§‘§ie§:tie inch ee;'s.om ie- er§rminei end chill penei§lee“ end "A§‘l;¢ peree§i wl'§»::
§§§iowir§g§y erie Wit§“i ln§eni to injz.§e'e er defraud any §meu§e§' fliee en epalic:el§e§i m claim cceite§§img eng false §nco`§i‘i§.§lele er
misleadan infermat§an Si§ell, deem caiw§etiei§: be S&l}jec§ to imp§le,onmei§l for up to Sevezn years and §eymem of a flee el
up ice $‘l 54&99 ”

T§NNESSEE ZTAT§JTES PRGWD& 'E'HAT “ii is a crime to knowingly er<::w§e*e §e§eei mcemp§e§e cf misleading lnfermet§en
le an §ns,a,iren£e ccmpeny fer fee perpase cf delvew:§ing L?ie Cr_§mpeny. Flenelt§es include inapr§isi:sl:'§§§§er’i§1 l§~'nee amd deeie§ e§
leisure rice bez§eiiis_"

\!lRG§NlA STA`§E_JTES PROV£DE TH_AT “§i §§ a §:r'"§§§§e m i;rmwé:igly erevic§e §`za§s,en mccl§§~,piete er misleading ie€l';)§~'metioz§ §;

en insu€zs§‘ae:e Compe»:i;: ice the purpese cf de§'raucl§zig the ce:*ep§zey. l'-“’en;zli§es' include §mpr§scr§mer§§, fines end cier§§el el
insu§e§'i§;e benefd$l“

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